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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF OKLAHOMA

   KATHERINE BLEVINS,
                               Plaintiff,
   vs.                                            Case No. 19-CV-528-JED-FHM
   PUBLIC SERVICE COMPANY OF
   OKLAHOMA, et al.,
                               Defendant.

                                    OPINION AND ORDER

         Defendant’s Motion to Compel, [Dkt. 15], is before the undersigned United States

  Magistrate Judge for decision.

         Defendant served discovery requests on Plaintiff on July 22, 2020. By agreement,

  the time for serving answers to those requests was extended to August 28, 2020.

  Following a meet and confer in which Plaintiff was unable to provide a date by which time

  the discovery would be answered, the instant motion was filed on September 8, 2020. On

  September 29, 2020 Plaintiff requested an additional 7 days in which to respond and

  represented that response to discovery would be forthcoming by that date. [Dkt. 16]. The

  extension of time was granted, but Plaintiff did not file a response brief and did not serve

  answers to discovery withing the 7 days. Defendant’s Reply Brief represents that, as of

  October 14, 2020, Plaintiff has not served responses to Defendant’s outstanding discovery

  requests.

         Defendant’s Motion to Compel, [Dkt. 15], is GRANTED. Substantive responses to

  Defendant’s discovery requests which were served on July 22, 2020 are due on or before

  October 30, 2020. Plaintiff is advised that failure to timely comply with this order may result
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  in the imposition of sanctions as provided in Fed.R.Civ.P. 37(b), and may include dismissal

  of this case.

         SO ORDERED this 19th day of October, 2020.




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